          Case 2:20-cv-00213-wks Document 18 Filed 07/30/21 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF VERMONT



   United States of America,
                          Plaintiff,
           v.                                               Civ. No. 2:20-cv-213
   University of Vermont Medical Center,
                          Defendant.




                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41, Plaintiff United States notices dismissal of this action.

Rule 41(a)(1)(A)(i) provides that a plaintiff may voluntarily dismiss an action without a court

order by filing “a notice of dismissal before the opposing party serves either an answer or a

motion for summary judgment.” Defendant University of Vermont Medical Center has not

served an answer or motion for summary judgment in this action. The United States accordingly

notices voluntary dismissal of this action, without prejudice. See Fed. R. Civ. P. 41(a)(1)(B).


                                                     Respectfully submitted,


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